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                                        The Epstein Law Firm, P.A.
                                                340 West Passaic Street
                                            Rochelle Park, New Jersey 07662
                                              www.theepsteinlawfirm.com

                                                   Tel (201) 845-5962
                                                   Fax (201) 845-5973

Barry D. Epstein *                                                                  Michael A. Rabasca 
Michael J. Epstein *                                                               Jeffrey B. Richter
April M. Gilmore *                                                                 Corey S. Zymet ◊

*Certified by the Supreme Court of                                              Hon. John E. Selser (Ret.)
 New Jersey as a Civil Trial Attorney                                                  Counsel
 Also Admitted in New York



                                                               March 23, 2019


Via ECF
Hon. James B. Clark, III, U.S.D.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

                    Re:        Collick et al. v. William Paterson University et al.
                               Docket No. 16-471

Dear Judge Clark:

     As you know, this office represents plaintiffs in the above matter.
The purpose of this letter is to inform Your Honor of certain delays we
have encountered in completing certain fact witness depositions and to
request a brief extension of fact discovery.

      By way of update, the parties have completed written discovery
including the service of answers to interrogatories, responses to
document requests and the exchange of thousands of pages of documents.
The parties have completed the deposition of four fact witnesses to date:
(1) defendant Sergeant Ellen DeSimone (“Sergeant DeSimone”), who was
William Paterson University Police Department’s (“WPUPD”) lead
investigator of the sexual assault allegations at issue; (2) defendant
Robert Fulleman (“Mr. Fulleman”), the director of the WPUPD during the
relevant time period; (3) plaintiff Garrett Collick; and (4) non-party
witness Lori Ellicott, CMAC, the Administrator of the Wayne Municipal
Court who Sergeant DeSimone called to request for arrest warrants for
plaintiffs and the other falsely accused individuals.        Despite the
substantial progress made since our last conference with the Court, the
parties have encountered issues with respect to completing four
additional depositions due to circumstances beyond their control.
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      First, defendants had scheduled the deposition of plaintiff Noah
Williams (“Mr. Williams”) for this past Wednesday, March 20, 2019 at the
Garden State Youth Correctional Facility where he had been incarcerated.
However, on Monday, March 18, 2019, the parties learned that Mr. Williams
was transferred to the Albert C. Wagner Youth Correctional Facility and
that the new facility was unable to accommodate the scheduled deposition.
Although defendants were able to reschedule Mr. Williams’s deposition
for this coming Thursday, March 28, 2019, we had to reschedule the
subpoenaed deposition of Detective Maria Ingraffia (“Detective
Ingraffia”) of the Passaic County Prosecutor’s Office to accommodate
same.

      Second, during the deposition of Sergeant DeSimone, the parties
confirmed that an unsigned, undated and unlabeled list of criticisms of
defendants’ investigation of the alleged sexual assault was actually a
memorandum authored by the Passaic County Prosecutor’s office.
Accordingly, on or about March 12, 2019, the undersigned duly served
subpoenas for the depositions of Lisa Squitieri, Esq. (“Ms. Squitieri”),
Chief Assistant Prosecutor assigned to the case, and Detective Ingraffia,
the Prosecutor’s Detective assigned to the case, for March 27, 2019 and
March, 28, 2019, respectively, to inquire about, inter alia, the
memorandum, the issues with WPUPD’s investigation, and the results of
the Prosecutor’s Office’s investigation of the alleged sexual assault.
On March 21, 2019, the undersigned received correspondence from counsel
for Passaic County acknowledging receipt of the subpoena for Ms.
Squitieri’s deposition and requesting a “brief” adjournment to allow
counsel to review the matter “and discuss same with the Prosecutor’s
Office.”    See Ex. A.      With respect to Detective Ingraffia, the
undersigned has reached out to the Prosecutor’s Office on several
occasions to obtain and confirm a convenient date for the subpoenaed
deposition, particularly in light of the issue with Mr. Williams’s
deposition discussed above, but has yet to receive a response. Ex. B.

      Finally, on or about March 2, 2019, the undersigned served a
subpoena for the deposition of Joanne Hatt, RN-FN-CSA (“Nurse Hatt”),
the SANE Nurse who conducted a Forensic Medical Examination of the
accuser, for March 13, 2019. On March 11, 2019, this office received a
call from Gina Pfund, C.A.P. (“Ms. Pfund”) advising that Nurse Hatt was
on call and had another conflict that week. Ms. Pfund further advised
that she would provide available dates for Nurse Hatt’s deposition after
conferring with Lisa Verlardi, C.A.P.     (“Ms. Verlardi”), who handles
civil litigation discovery requestes for the Prosecutors’ office.
Again, although this office has repeatedly reached out to both Ms. Pfund
and Ms. Verlardi, we have yet to receive any proposed new date for the
subpoenaed deposition.
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      Although the undersigned anticipates resolving the above issues
with Passaic County Counsel and the Prosecutor Office and rescheduling
both Ms. Squitieri, Detective Ingraffia, and Nurse Hatt’s depositions
in short order, more time is required to do so.      In addition,   Mr.
Fulleman testified as to the existence of an Internal Affairs
investigation conducted by a Terry Bogorad of which plaintiffs were
previously unaware. Plaintiffs wish to explore this investigation via
deposition of Ms. Bogorad but require more time to schedule and conduct
same.

      In light of the foregoing, the undersigned respectfully requests
an additional 45 days to complete the above depositions as well as any
and all remaining fact discovery. It must be noted that the remaining
deponents’ testimony is vital to plaintiffs’ case and they will be
substantially prejudiced if they are unable proceed with same. Please
be advised that we have conferred with our adversaries, who do not oppose
this request.

     Thank you in advance for Your Honor’s kind attention and
understanding. Please do not hesitate to contact us if you have any
questions or concerns.



                                   Respectfully submitted,

                                   /s/ Michael J. Epstein
                                   MICHAEL J. EPSTEIN
                                   mjepstein@theepsteinlawfirm.com

MJE/mar
Enclosures
Cc: Matthew E. Beck, Esq.
     Mauro G. Tucci, Esq.
